                                                                                                                                          E-FILED; Baltimore County Circuit Court
                                                          Case 1:24-cv-03744-BAH    Document 23-7       Filed 02/03/25   Page 1 6/14/2024
                                                                                                                         Docket: of 55 12:18 PM; Submission: 6/14/2024 12:18 PM
                                                                                                                                                             Envelope: 16844353


                                                                                                                                              EXHIBIT 3
                                                                                                                                     C-03-CV-24-002264
                                                1998 LEGISLATIVE HISTORY FOR HB0925



               LR1505                                                                                                    FILECODE:       El


               SPONSOR(S):            Rudolph,            David D.,    Delegate District 35B
                                      Cryor,      Jean B.,          Delegate District     15


               SHORT TITLE:              Crimes       -    Computers    -   Exceeding Authorized Access..


               COMMENT:          Session Laws,               Chapter 525
               FISCAL       IMPACT:            Fiscal       Note available


               SYNOPSIS:
                      Expanding the provisions                       relating to unauthorized access to specified
                      computer devices,                    systems,    or services    to apply to a person who
                      exceeds the person' s                      authorized access    and to specified possession of
                      valid      access codes;               increasing a statute of limitations                 for specified
                      computer crimes;                    and generally relating to computer crimes.




                                           HOUSE                                          SENATE



                               2/12       Irg jud                                     3/26     Irg jpr
                               2/18 hrg 3/17 at                   1:00 p.m.           4/01     hrg 4/07 at       1:00 p.m.
                               3/23       fwa rpt by jud                              4/13     fav rpt by jpr
                                          fwa rpt          adp                        4/12     fav rpt     adp
                               3/23       2rg pwa                                     4/12 2rg pas
                               3/25 3rg pas                (133-0)                    4/13 3rg pas         (47-0)
                               4/11       ret pas


                                                            5/12 GOV app Chapter 525


               SUBJECT KEY(S):


                      COMPUTERS,           CRIMESP,          STATUTE


               STATUTE(S):


                      (g27)      Crimes         and       Punishments
                                146      (c)    amended
                                146      (a)    without          amendments
                      (gcj)      Courts and Judicial                  Proceedings
                                5-106 (x) added




. 1998 Legislative History For HB 0925                                                 Page # 1 of 55                                  Exhibit SCD-7 [State Court Document File # 7 of 303] .
                                                              o                                                         0               SENATE OF MARYLAND
                                                                                                                                 JUDICTAL PROCEEDINGS COMMITTEE
                                                                                                                                    SPEAKERS AND APPEARANCES
                                                             Senate Bill No.
                                                             House Bill No.        925




. 1998 Legislative History For HB 0925
                                                                                          -               -

                                                             Subject Matter:     CRIMES       COMPUTERS       EXCELDING AUTHORIZED ACCESS


                                                             Date ot Hearing.                 1998


                                                             Sponsor of Bill:        RUDOLPH
                                                         (IF NAME 1S MOT PRINTED, WITNESS MAY NOT BE CALLED TO TESTIFY.) LIST OF SPEAKERS AND INTERESTED PARTIES
                                                                                                                                      "PLEASE PRINT
                                                            PLEASE PRINT
                                                                                                                                                                           Case 1:24-cv-03744-BAH




                                                            FOR      AGST,      TIME REQUESTED                     NAME                                ADDRESS    PHONES
                                                                                   TO SPEAK




Page # 2 of 55
                                                                                                                                                                           Document 23-7
                                                                                                                                                                           Filed 02/03/25
                                                                                                                                                                           Page 2 of 55




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                                                         Case 1:24-cv-03744-BAH       Document 23-7        Filed 02/03/25    Page 3 of 55



                                                                        HOL SE JEDICIARY COMMITTEE
                                                                                    SOTE TALLY
                          H.B.                                                 DATE     0535-   ao4                          $.B.

                                                                                                                             5.1K.

                          MOTION             Favorable                    Amended                                       Rerefer io

                                             Lafavorable                    Hoid                                          Other


                                                                        TEAS                    SANS            .BSTAI™              ABSENT

                            VALLARIO I. F


                            DOORY. AM

                            MOS TAOLE, KC
                                         1           1



                            DEMBROW. D L.

                            PERRY. M. G.

                            MURPHY. T D

                            TLRNER, F
                            GROSFELD. 5.
                            JACOBS, N
                            BURNS, MW

                            PETZOLD.C            $

                                             T

                             MURPHY      DF
                             BURNS. E

                            CDONNELL. A J
                             BAKER. R L
                             COMEAL, Vf &.
                             VALDERRAMA, D. M.
                             BISSETT, P. D.                                                                                                             Cow    O   ce   cee
                             GENN, G. 7.

                             MENES, PH.


                                                     TOTAL               {&                                       O

                                                                    COMMITEE REPORTER




. 1998 Legislative History For HB 0925                                                    Page # 3 of 55                                      Exhibit SCD-7 [State Court Document File # 7 of 303] .
                                               Case 1:24-cv-03744-BAH    Document 23-7         Filed 02/03/25   Page 4 of 55




                                                          SENATE OF MARYLAND
                      (a Fy                       JUDICIAL PROCEEDINGS COMMITTEE
                                                           VOTING RECORD
                      als

                                                                                                                     Date:

               SB                                                                                          HB           fas
               SIR


                MOTION                   FAV                            PASSED                                                 FAILED
                   Favorable

                   Favorable with amendments

                   Re-refer

                    Unfavorable

                    Hold

                    Other




                                                                                                   Yeas                    Nays
                                  BAKER, Chairman
                                  GREEN, Vice Chairman
                                  HAINES .                       ce     eee      es



                                  COLBURN
                                  FERGUSON
                                  JIMENO
                                  JEFFERIES
                                   FOREHAND          .......
                                   HUGHES...
                                   MIDDLEBROOKS


                                                                        TOTAL
                    AB Absent
                            -



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                               SEQ NO.          1291                                                                           APR       13,   1998              10:43         PM

                                                                                           Senate         of    Maryland
                                                                                          1998    Regular           Session



                                               HB    925          Third Reading                   (HB)         Calendar No.             60
                                                                  Del.       Rudolph             et   al                                       (JPR)
                                               Crimes         -    Computers                -    Exceeding Authorized Access


                                               On    Third         Reading



                                                                             PRESIDING:                   MR.      PRESIDENT




                               LEGISLATIVE                DATE
                               APR       13,    1998


                                         47    YEAS           0   NAYS                0   EXC         0    NOT VOTING               0   EXCUSED       (ABSENT)



                               VOTING          YEA    -    47


                                 MR. PRESIDENT                                   DERR                                    HOLLINGER                              MUNSON
                                 ASTLE                                           DORMAN                                  HUGHES                                 NEALL
                                 BAKER                                           DYSON                                   JEFFERIES                               PINSKY
                                 BLOUNT                                          FERGUSON                                JIMENO                                 ROESSER
                                 BOOZER                                          FOREHAND                                KASEMEYER                              RUBEN
                                 BROMWELL                                        FROSH                                   KELLEY                                  SFIKAS
                                 COLBURN                                         FRY                                     LAWLAH                                  STOLTZFUS
                                 COLLINS                                         GREEN                                   MADDEN                                 STONE
                                 CONWAY                                          HAFER                                   MCCABE                                 TEITELBAUM
                                 CRAIG                                           HAINES                                  MCFADDEN                               TROTTER
                                 CURRIE                                          HOFFMAN                                 MIDDLEBROOKS                           VAN HOLLEN
                                 DELLA                                           HOGAN                                   MIDDLETON


                               VOTING NAY             -   0



                               NOT VOTING             -   0



                               EXCUSED         FROM VOTING                   -    0



                               EXCUSED          (ABSENT)            -    0




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                            SEQ NO.          512                                                                                MAR 25,       1998             5:34     PM
                            PRESIDING:              Mr.       Speaker                                                    LEGISLATIVE DATE:             MAR 25,       1998


                                                                                General Assembly of Maryland
                                                                                      House of Delegates
                                                                                    1998 Regular Session


                                                          HB 925         Third Reading       (HB)    Calendar No.         37
                                                                         Del.   Rudolph et al                                    (JUD)
                                                          Crimes     -    Computers    - Exceeding Authorized Access


                                                          On Third Reading



                                              133 YEAS              0 NAYS         0 EXC         3 NOT VOTING              5 EXCUSED     (ABSENT)


                    VOTING YEA -              133
                      Mr.     Speaker                     Cry or                      Harkins                      McClenahan                  Pitkin
                      Arnick                              Davis C                     Healey                       McHale                      Poole
                      Baker R                             Davis D                     Heller                       McKee                       Ports
                      Baker W                             DeCarlo                     Hixson                       Menes                       Preis
                      Baldwin                             Dembrow                     Howard                       Minnick                     Proctor
                      Barve                               Dewberry                    Hubbard                      Mitchell C                  Rawlings
                      Beck                                Dobson                      Hughes B                     Mitchell V                  Redmer
                      Benson                              Donoghue                    Hughes D                     Moe                         Rosenberg
                      Billings                            Dypski                      Hurson                       Mohorovic                   Rudolph
                      Bissett                             Eckardt                     Hutchins                     Montague                    Rzepkowski
                      Bobo                                Edwards                     Jacobs                       Morgan                      Schade
                      Bonsack                             Elliott                     Jones                        Morhaim                     Schisler
                      Boston                              Exum                        Kach                         Mossburg                    Shriver
                      Bozman                              Faulkner                    Kagan                        Murphy D                    Slade
                      Branch                              Finifter                    Kelly                        Murphy T                    Snodgrass
                      Brinkley                            Flanagan                    Kirk                         Muse                        Stocksdale
                      Burns E                             Franchot                    Kittleman                    Nathan-Pulliam              Stull
                      Burns M                             Frank                       Klausmeier                   O'Donnell                   St up
                      Busch                               Frush                       Klima                        Oaks                        Turner
                      Cadden                              Fulton                      Kopp                         Opara                       Valderrama
                      Campbell                            Genn                        Krysiak                      Owings                      Vallario
                      Ciliberti                           Getty                       La Vay                       Palumbo                     Walkup
                      Clagett                             Goldwater                   Leopold                      Patterson                   Weir
                      Comeau                              Gordon                      Love                         Pendergrass                 Willis Miller
                      Conroy                              Greenip                     Malone                       Perry                       Wood
                      Conway                              Grosfeld                    Mandel                       Petzold                     Workman
                      Crumlin                             Hammen                      Marriott


                     VOTING NAY


                     NOT VOTING          -    3
                      Guns                                Harrison                    Holt


                     EXCUSED FROM VOTING -                      0


                     EXCUSED        (ABSENT)         -    5
                      Doory                               Hecht                       Linton                       McIntosh                    Watson




                                                                                    * indicates vote change




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                                                                                                                                        HB 925

                                                         Department of Legislative Services

                                                                 Maryland General Assembly



                                                                         FISCAL NOTE




                                  House Bill 925      (Delegate Rudolph)

                                  Judiciary




                                                    Crimes - Computers - Exceeding Authorized Access




                                This bill expands the provision of law pertaining to computer access to prohibit a person

                                from intentionally, willfully, and without authorization exceeding the person’s authorized

                                access   to   computer   systems   or    services.       The        bill   also   prohibits   a   person       from

                                intentionally, willfully, and without authorization possessing any valid access codes.                              A

                                three-year statute of limitations is applied to all unauthorized access offenses of this

                                subsection.



                                                                         Fiscal Summary



                                State Effect:   Potential indeterminate increase in general fund revenues and expenditures

                                due to the applicable penalty provisions.      The effect of the three-year statute of limitations

                                on possible prosecutions, convictions, and penalties is not readily predictable.



                                Local Effect: Potential indeterminate increase in revenues and expenditures due to the

                                bill’s penalty provisions.



                                Small    Business   Effect:   Indeterminate.         To       the   extent    this   bill   might discourage
                                unauthorized access to devices or systems and/or alleviate access code difficulties, large

                                or small businesses in computer related fields could benefit.                      Such a potential benefit
                                cannot be reliably quantified.




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                                                                         Fiscal Analysis



                                State Revenues: Violators of the provisions of the bill are guilty of a misdemeanor and

                                subject to a fine of up to $1,000 and/or imprisonment of up to three years, or a fine of up

                                to $5,000 and/or imprisonment of up to five years, depending on the provision violated.

                                As a result, general fund revenues could increase under the applicable monetary penalty

                                provisions for those cases heard in the District Court, depending upon the number of

                                convictions and fines imposed.



                                State Expenditures: General fund expenditures could increase as a result of ^he applicable

                                incarceration penalty due to more people being committed to a Division of Correction
                                (DOC) facility and increased payments to counties for reimbursement of inmate costs,

                               depending upon the number of convictions and sentences imposed.



                                Persons serving a sentence longer than one year are incarcerated in a DOC facility.                              In

                                fiscal 1999 the average monthly cost per inmate is estimated at $1,500.



                                Persons serving a sentence of one year or less are sentenced to a local detention facility.

                               The State reimburses counties for part of their per diem rate after a person has served 90

                               days.     State per diem reimbursements for fiscal 1999 are estimated to range from $12 to

                               $42 per inmate depending upon the jurisdiction.               Persons sentenced to such a term in

                               Baltimore City are generally incarcerated in a DOC facility, with an average monthly cost

                               estimated at $1,500 for fiscal 1999.       [The Baltimore City Detention Center (BCDC), a

                               State operated facility, is used primarily for pretrial detentions. The per diem cost for

                               BCDC in fiscal 1999 is estimated at $43 per inmate.]



                               Local Revenues: Revenues could increase under the applicable monetary penalty provision
                               for those cases heard in the circuit courts, depending upon the number of convictions and

                               fines imposed.



                               Local     Expenditures:    Expenditures     could      increase     as   a     result   of   the    applicable

                               incarceration penalty depending upon the number of convictions and sentences imposed.

                               Counties pay the full cost of incarceration for people in their facilities for the first 90 days

                               of the sentence, plus part of the per diem cost after 90 days.               Per diem operating costs of

                               local detention facilities are expected to range from $23 to $84 per inmate in fiscal 1999.




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                                 Information    Source(s):      Department of Public           Safety   and   Correctional        Services

                                 (Division of Correction), Department of Legislative Services




                                 Fiscal Note History:              First Reader      - March 12, 1998
                                 ncs



                                 Analysis by:      Mike Sanelli                              Direct Inquiries to:

                                 Reviewed by:      John Rixey                                John Rixey, Coordinating Analyst

                                                                                             (410) 841-3710        y

                                                                                             (301) 858-3710 r




                                 HB 925 / Page 3




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                                                                                                                                                m
                     J. JOSEPH CURRAN. JR.
                          Attcaney General
                                                                                                                 LEGISLATIVE SERVICES LIBRARY
                                                                                                                 B-08 LSB
                     CARMEN M. SHEPARD
                     ^DNNA HILL STATON
                     -»jtv a—cpncys General



                                                                The Attorney General

                                                                         Of Maryland


                                                                            April 30, 1998




                                  The Honorable Parris N. Glendening
                                  Governor of Maryland
                                  State House

                                  Annapolis, Maryland 21401-1991


                                  Dear Governor Glendening:


                                         We have approved the following bills for constitutionality and legal sufficiency:


                                          SENATE                                                                 HOUSE


                                             91                                                110               680**              1130
                                            255*                                               135               737                1199
                                            264**                                              192               781                1252
                                            360                                                226               836                1265
                                            446                                                253               904                1293
                                            537                                                350***            925                1334
                                            715***                                             430               933*               1377****

                                            761****                                            465               1043               1381
                                                                                               523               1044


                                                                                               Very truly yours.




                                                                                           T. Joseph Curran. Jr.
                                                                                           Attorney General
                                JJCjnads
                                cc:      Joseph C. Bryce
                                         Jo
                                         Secretary of State
                                         Karl Aro

                        Saltimore Metropolitan Area                 COl'NSEL TO THE GENERAL ASSEMBLY                         Washington Metro area
                        Telephone (410) 841-3889                    104 Legislative Services Blilding                        Telephone (301) 858-3889
                            Fax (410) 841-3890                               90 State Circle                                     Fax (301)858-3890
                        TTY For Deal (410) 841-3814                 Annapolis, Maryland 21401-1991                           TTY For Deaf (301) 858-3814




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                                 The Honorable Parns N. Glendening
                                 Page 2
                                 April 30, 1998




                                  Footnotes

                                  *    SB 255 is identical to HB 933.
                                  **   SB 264 is identical to HB 680.
                                  ***  SB 715 1s identical to HB 350.
                                  #*** SB 761 is identical to HB 1377.




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                                                        SENATE JUDICIAL PROCEEDINGS                                    COMMITTEE

                                              WALTER M.         BAKER,       CHAIRMAN               *   COMMITTEE              REPORT SYSTEM
                                                     Department of Legislative Services .           1998 General Assembly of Maryland


                                                                    FLOOR             REPORT

                                                                         HOUSE BILL 925


                                                       Crimes - Computers - Exceeding Authorized Access


                                 SPONSORS:


                                 Delegates Rudolph and Cryor


                                 COMMITTEE RECOMMENDATION:


                                 Favorable.


                                 SUMMARY OF BILL:


                                 The bill prohibits a person from intentionally, willfully, and without authorization exceeding the
                                 person’s authorized access to any computer devices, systems, or services. A violation of this offense
                                 is a misdemeanor punishable by a fine not to exceed $3,000, imprisonment not to exceed 1 year, or
                                 both.


                                This bill further prohibits a person from intentionally, wilfully, and without authorization exceeding
                                the person’s authorized access to any computer devices, systems, or services for the purpose of
                                causing the malfunction or interruption of the operation of the computer device, system, or service,
                                or alteration, damage, or destruction of data or a computer program stored, maintained, or produced
                                by the computer device, system, or service. The penalty for this misdemeanor offense is a fine up
                                to $5,000, imprisonment up to 5 years, or both.


                                The bill also prohibits a person from intentionally, willfully, and without authorization possessing
                                any valid access codes.     The penalty for this misdemeanor offense is a fine up to $5,000,
                                imprisonment up to 5 years, or both.


                                The bill provides a 3 year statute of limitations period for computer crimes prosecuted under Article
                                27, § 146(c) of the Code.


                                COMMITTEE AMENDMENTS:


                                None.


                                BACKGROUND:


                                In the recent Court of Appeals case of Briggs v. State (filed 1/22/98), the Court addressed the issue
                                of whether the current statute in Art. 27, § 146 covered the situation of a person whose access to a




. 1998 Legislative History For HB 0925                                      Page # 12 of 55                                Exhibit SCD-7 [State Court Document File # 7 of 303] .
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                                 computer was authorized, but who exceeded the scope of the authorization. The Court held that it
                                 did not, stating: ’The statute makes no reference to authorized users who exceed the scope of their
                                 authority. If the Legislature intended the statute to cover employees who exceeded the scope of their
                                 authority or who misused their authority, it could have done so explicitly.            We conclude that the
                                 intent of the General Assembly was to criminalize the misuse of computers or computer networks
                                 by those whose initial access was unauthorized." This bill will criminalize the conduct described
                                 in Briggs.


                                 Under current law, a person is prohibited from intentionally, wilfully, and without authorization
                                 accessing, attempting to access, or causing access to any computer devices, systems, or services.


                                 Current law prohibits a person from intentionally, willfully, and without authorization accessing,
                                 attempting to access, or causing access to any computer devices, systems, or services with the
                                 purpose of causing the malfunction or interruption of the operation of the computer device, system,
                                or service, or alteration, damage, or destruction of data or a computer program stored, maintained,
                                or produced by the computer device, system, or service.


                                Current law prohibits a person from intentionally, willfully, and without authorization identifying
                                or attempting to identify any valid access codes or distributing or publicizing any valid access codes
                                to any unauthorized person.




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                                                       SENATE JUDICIAL                  PROCEEDINGS                   COMMITTEE

                                            WALTER M.          BAKER,      CHAIRMAN                *   COMMITTEE            REPORT SYSTEM
                                                    Department of Legislative Services .            1998 General Assembly of Maryland


                                                                   BILL       ANALYSIS

                                                                          HOUSE BILL 925


                                                      Crimes - Computers - Exceeding Authorized Access


                                SPONSORS:


                                Delegates Rudolph and Cryor


                                SUMMARY OF BILL:


                                The bill prohibits a person from intentionally, willfully, and without authonzation exceeding the
                                person’s authorized access to any computer devices, systems, or services. A violation of this offense
                                 is a misdemeanor punishable by a fine not to exceed $3,000, imprisonment not to exceed 1 year, or
                                both.


                                 This bill further prohibits a person from intentionally, wilfully, and without authorization exceeding
                                 the person’s authorized access to any computer devices, systems, or services for the purpose o
                                 causing the malfunction or interruption of the operation of the computer device, system, or service,
                                 or alteration, damage, or destruction of data or a computer program stored, maintained, or produced
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                                 The bill also prohibits a person from intentionally, willfully, and without authorization Possessing
                                 any valid access codes.      The penalty for this misdemeanor offense is a fine up to $5,000,
                                 imprisonment up to 5 years, or both.


                                  The bill provides a 3 year statute of limitations period for computer crimes prosecuted under Article
                                  27, § 146(c) of the Code.


                                  BACKGROUND:



                                  In the recent Court of Appeals case ofBriggsv. State (filed 1/22/98), the Court addressed the issue
                                  of wLther L current site in Art. 27, § 146 covered the situation of a person whose access to a
                                  computer was authorized, but who exceeded the scope of the authorization. The Court heldthatit
                                  did not stating- "The stamte makes no reference to authorized users who exceed the scop
                                  authority^fthe Legislature intended the statute to cover employees who exceeded the scopeofLheir

                                   authority or who misused their authority, it could have done so explicitly.           We conclude tot ^
                                   intent of the General Assembly was to criminalize the misuse of computers or computernetw
                                   bylse whose initial access was unauthorized." This bill will criminalize the conduct described

                                   in Briggs.




. 1998 Legislative History For HB 0925                                         Page # 14 of 55                                    Exhibit SCD-7 [State Court Document File # 7 of 303] .
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                              Under current law, a person is prohibited from intentionally, wilfully, and without authorization
                              accessing, attempting to access, or causing access to any computer devices, systems, or services.


                              Current law prohibits a person from intentionally, willfully, and without authorization accessing,
                              attempting to access, or causing access to any computer devices, systems, or services with the
                              purpose of causing the malfunction or interruption of the operation of the computer device, system,
                              or service, or alteration, damage, or destruction of data or a computer program stored, maintained,
                              or produced by the computer device, system, or service.


                              Current law prohibits a person from intentionally, willfully, and without authorization identifying




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                            A                                             JUDICIARY                  COMMITTEE
                                         JOSEPH F. VALLARIO, JR.,              CHAIRMAN                *   COMMITTEE               REPORT SYSTEM

                                                      Department of Legislative Services         .   1998 General Assembly of Maryland


                                                                   BILL       ANALYSIS

                                                                          HOUSE BILL 925


                                                        Crimes - Computers - Exceeding Authorized Access


                                SPONSOR:


                                Delegate Rudolph


                                SUMMARY OF BILL:


                                The bill prohibits a person from intentionally, willfully, and without authorization exceeding the
                                person’s authorized access to any computer devices, systems, or services.


                                This bill further prohibits a person from intentionally, wilfully, and without authorization exceeding
                                the person’s authorized access to any computer devices, systems, or services for the purpose of
                                causing the malfunction or interruption of the operation of the computer device, system, or service,
                                or alteration, damage, or destruction of data or a computer program stored, maintained, or produced
                                by the computer device, system, or service.


                                The bill prohibits a person from intentionally, willfully, and without authorization possessing any
                                valid access codes.


                                The bill provides a 3 year statute of limitations period for computer crimes prosecuted under Article
                                27, § 146(c) of the Code.


                                BACKGROUND:


                                Under current law, a person is prohibited from intentionally, wilfully, and without authorization
                                accessing, attempting to access, or causing access to any computer devices, systems, or services.


                                Current law prohibits a person from intentionally, willfully, and without authorization accessing,
                                attempting to access, or causing access to any computer devices, systems, or services with the
                                purpose of causing the malfunction or interruption of the operation of the computer device, system,
                                or service, or alteration, damage, or destruction of data or a computer program stored, maintained,
                             or produced by the computer device, system, or service.


                             Current law prohibits a person from intentionally, willfully, and without authorization identifying
                             or attempting to identify any valid access codes or distributing or publicizing any valid access codes
                             to any unauthorized person.


                             In the recent Court of Appeals case of Briggs v. State (filed 1/22/98), the Court addressed the issue
                             of whether the current statute in Art. 27, § 146 covered the situation of a person whose access to a




. 1998 Legislative History For HB 0925                                        Page # 16 of 55                                    Exhibit SCD-7 [State Court Document File # 7 of 303] .
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                               computer was authorized, but who exceeded the scope of the authorization. The Court held that it
                               did not, stating: "The statute makes no reference to authorized users who exceed the scope of their
                               authority. If the Legislature intended the statute to cover employees who exceeded the scope of their
                               authority or who misused their authority, it could have done so explicitly.           We conclude that the
                               intent of the General Assembly was to criminalize the misuse of computers or computer networks
                               by those whose initial access was unauthorized." This bill will criminalize the conduct described
                               in Briggs.




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                                                        SENATE JUDICIAL                    PROCEEDINGS                  COMMITTEE

                                              WALTER M.         BAKER,      CHAIRMAN                    *   COMMITTEE            REPORT SYSTEM
                                                     Department of Legislative Services             .   1998 General Assembly of Maryland


                                                                    BILL        ANALYSIS


                                                                         HOUSE BILL 925


                                                       Crimes - Computers - Exceeding Authorized Access


                                  SPONSORS:


                                  Delegates Rudolph and Cryor


                                 SUMMARY OF BILL:


                                 The bill prohibits a person from intentionally, willfully, and without authorization exceeding the
                                 person’s authorized accegsn^any computer devices, systems, or services. A violation of this offense
                                 is'a misdemeanor punishable by a fine not to exceeds 3, OOO^imprisonment not to exceed 1 year, or
                                 both.                                                              y
                                                                                               u

                                 This bill further prohibits a person from intentionally, wilfully, and without authorization exceeding
                                 the person’s authorized access to any computer devices, systems, or services for the purpose of

                                 rnij^in^Jhfi mnlf^rirtionj^Hnterruption of the operatkxiUQfthe computer device, system, or service,
                                 or alteration, damage, or destruction oFHataor a computer program stored, maintained, or produced
                                 by the computer device, system, or service. The penalty for this misdemeanor offense is a fine up
                                 to $5,000, imprisonment up to 5 years, or both.                ^


                                 The bill also prohibits a person from intentionally, willfully, and without authorization possessing
                                 any valid access codes.     The penalty for this misdemeanor offense is a fine up to $5,000,
                                 imprisonment up to 5 years, or both.


                                 The bill provides a 3 year statute of limitations period for computer crimes prosecuted under Article
                                 27, § 146(c) of the Code.


                                   tACKGROUND:


                                 In the recent Court of Appeals case of Briggs v. State (filed \ 12219%), the Court addressed the issue
                                 of whether the current statute in Art. 27, § 146 covered the situation of a person whose access to a
                                 computer was authorized, but who exceeded the scope of the authorization. The Court held that it
                                 did not, stating: "The statute makes no reference ttLauthorizedusers who excegdihe scope of their
                                 authority. If the Legislaturelntended the statute to cover employeeswhoexceeded the scope of their
                                 authority or who misused their authority, it could have done so explicitly.            We conclude that the
                                 intent of the General Assembly was to criminalize the misuse of computers or computer networks
                                 by those whose initial access was unauthorized." This bill will criminalize the conduct described
                                 in Briggs.




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                                 Under current law, a person is prohibited from intentionally, wilfully, and without authorization
                                 accessing, attempting to access, or causing access to any computer devices, systems, or services.


                                 Current law prohibits a person from intentionally, willfully, and without authorization accessing,
                                attempting to access, or causing access to any computer devices, systems, or services with the
                                purpose of causing the malfunction or interruption of the operation of the computer device, system,
                                or service, or alteration, damage, or destruction of data or a computer program stored, maintained,
                                or produced by the computer device, system, or service.


                                Current law prohibits a person from intentionally, willfully, and without authorization identifying
                                or attempting to identify any valid access codes or distributing or publicizing any valid access codes
                                to any unauthorized person.




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                                                                J L DICIARY COMMITTEE
                                            JOSEPH F. VALLAKIO, JR., CHAIRMAN * COMMITTEE REPORT SYSTE
                                                         department of Legislative Services . 1998 General Assembly of Maryland

                                                                        BILL ANALYSIS
                                                                              HOUSE BILL ‘>25

                                                           ( rimes - < omputers - Exceeding Authorized Access

                                     SPONSOR:

                                     Delegate Rudolph

                                    SUMMARY OF BILL:

                                    I he bill prohibits a person from intentionally, willfully, and without authorization exceeding the
                                    person s authorized access to any computer devices, systems, or services.

                                     1 his bill further prohibits a person from intentionally, wilfully, and without authorization exceeding
                                    the person s authorized access to am computer devices, systems, or services for the purpose of
                                    causing the malfunction or interruption of the operation of the computer device, system, or service,
                                    or alteration, damage, or destruction of data or a computer program stored, maintained, or produced
                                    by the computer device, system, or serv ice.

                                    I he bill prohibits a person from intentionally, willfully, and without authorization possessing any
                                    valid access codes.

                                    I he bill pro\ ides a 3 year .statute of limitations period for computer crimes prosecuted under Article
                                   27. § 146(c) of the Code.

                                   B \CKGROIJND:

                                   Under current law. a person is prohibited f rom intentionally, wilfully, and w.thout authorization
                                   accessing, attempting to access, or causing access to any computer devices, systems, or services

                                   Current law prohibits a person from intentionally, willfully, and without authorization accessing,
                                   attempting to access, or causing access to any computer devices, systems, or sen ices with the
                                   purpose ofcausing the malfunction or interruption of the operation of the computer device, system,
                                   or service, or alteration, damage, or destruction of data or a computer program stored, maintained
                                   or produced by the computer device, system, or service.

                                  Current law prohibits a person from intentionally, willfully, and without authorization identifying
                                  cu attempting to identify any valid access codes or distributing or publicizing any valid access codes
                                  to any unauthorized person.

                                  In the recent Court of Appeals case of Briggs v^Statc (filed I /22/98). the Court addressed the issue
                                  ol whether the current statute in /Art. 27, § 146 covered the situation of a person whose access to a




. 1998 Legislative History For HB 0925                                     Page # 20 of 55                       Exhibit SCD-7 [State Court Document File # 7 of 303] .
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                                   computer was authorized, hut who exceede, i rh



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                                  'ntent of the General Ass >mhi           > : " could have done so exnlieitl v u J h SC°pe °f their
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                                 by those whose initial acr      ' ^                    the misuse of commit '      ° conclude lbat the
                                                    ,t,al atteSS Was                                           0r com
                                 in Brines                           Authorized." This hn^n^T*                          Puter networks
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                                                                                                                  e conduct described
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. 1998 Legislative History For HB 0925                                        Page # 21 of 55                          Exhibit SCD-7 [State Court Document File # 7 of 303] .
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                             HB0925/691198/1




                             BY:         House Judiciary Committee


                                                            AMENDMENT TO HOUSE Bil l- NO. 925
                                                                      (First Reading File Bill)


                                         On page 1, in the sponsor line, strike “Delegate Rudolph” and substitute “Delegates Rudolph
                             and Crvor”: in line 4, strike      establishing” and substitute "to apply to a person who exceeds the
                             person's authorized access and to certain possession of valid access codes; increasing”.




                                                                             SCREEN




. 1998 Legislative History For HB 0925                                      Page # 22 of 55                    Exhibit SCD-7 [State Court Document File # 7 of 303] .
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                                           Amendment as Finalized by the Amendment Office               16:08:31   on22MAil98




                             HB0925/691198/1




                             BY:         House Judiciary Committee



                                                               AMENDMENT TO HOUSE BILL NO. 925

                                                                       (First Reading File Bill)
                                                           %


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                                                                               SCREEN




. 1998 Legislative History For HB 0925                                         Page # 23 of 55                                    Exhibit SCD-7 [State Court Document File # 7 of 303] .
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                                                                                                                                  AMENDMENTS
                                                                                                                                     PREPARED
                                                                                                                                      BY THE
                                                                                                                               DEPT. OF LEGISLATIVE
                                                                                                                                     SERVICES

                                                                                                                                   TWcy
                                                                                                                                     13 APR 98
                                                                                                                                      16:54:04
                               BY:        Senator Hogan



                                                            AMENDMENTS TO HOUSE BILL NO. 925

                                                                       (Third Reading File Bill)



                               AMENDMENT NO. 1

                                         On page 1, in line 2, strike “Crimes       in the same line, after •‘Access” insert             Public On-

                               Line Accessin line 6, after “crimes;” insert •‘requiring the Division of State Documents to provide

                               the public with certain on-line access to certain materials; requiring the receipt of certain materials

                               to be preceded bv certain information; prohibiting the use of certain data or material for commercial

                               purposes; establishing a certain fine for certain violations;”; and in line 7, after “crimes” insert “and

                               public on-line access to certain materials'.




                               AMENDMENT NO. 2

                                         On page 1, after line 22, insert:



                               “BY repealing and reenacting, with amendments.

                                         Article - State Government

                                         Section 7-206.2

                                         Annotated Code of Maryland

                                         (1995 Replacement Volume and 1997 Supplement)”.



                               AMENDMENT NO. 3

                                         On page 3, after line 34, insert:



                                                                      “Article - State Government



                               7-206.2.



                                         (a)     The Division mav arrange for data bases derived from publications issued by.„the

                               Division to be made available to the public for direct on-line searching by contracting__with

                               third-partv or value-added resellers.


                                                                                                                                                (Over)




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                                HB0925/323709/1                           Hogan

                                Amendments to HB 925
                                Page 2 of 3


                                                Notwithstanding the provisions of subsection (a) of this section, the State Data Center

                                shall charge for on-line access to the Maryland Information Retrieval System.



                                                This section may not be construed to require a State data center to provide a member

                                of the nublic with direct on-line access or any other type of access to the computers or data basesof

                                the State Data Center.



                                         . D)   NOT Will 1ST ANDIN C, ANY OTHER PPvQVISIQN OF LAW, THE DIVISION

                                SHALL      MAKE        AVAILABLE     TO    THE    PUBLIC,         AT    NO       COST,   DIRECT          ON-LINE

                                SFARCHING OF:



                                                 (1)     THE CODE OF MARYLAND REGULATIONS;



                                                 (2)     THE MARYLAND REGISTER; AND



                                                 (3)     ANY OTHFR MATERIAL THE DIVISION DETERMINES TO BE IN THE

                                PUBLIC INTEREST.



                                         (R)     THE RECEIPT OF ANY MATERIAL MADE AVAILABLE TO THE PUBLIC

                                IINDER THE TERMS OF SI JBSECTION (D) OF THIS SECTION SHALL BE PRECEDED BY

                                A LEGEND STATING THAT:



                                         ‘THE INFORMATION YOU ARE ABOUT TO RECEIVE IS MADE AVAILABLE FOR

                                PERSONAL USE ONLY. BY PROCEEDING BEYOND THIS POINT YOU AGREE THAT YOU

                                WILL NOT USE THE INFORMATION CONTAINED HEREIN FOR ANY COMMERCIAL

                                 PURPOSE        WHATSOEVER        INCLUDING,         BY         WAY    OF    EXAMPLE          AND         NOT JN

                                LIMITATION. THE DOWNLOADING OF THIS INFORMATION FOR USE IN ANY OTHER

                                 ELECTRONIC OR PRINTED FORM/,



                                         (F^     THE LEGEND REFERENCED IN SUBSECTION (E) OF THIS SECTION SHALL

                                 BE PRESENTED TO THE RECIPIENT IN A MANNER THAT AFFORDS THE RECIPIENT AN

                                 OPPORTUNITY TO REFUSE TO ACCESS THE MATERIAL,



                                         tCB     DATA OR MATERIAL OBTAINED PURSUANT TO SUBSECTION (D) OF THIS




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                                HB0925/323709/1                         Hogan
                                Amendments to HB 925
                                Page 3 of 3

                                SECTION MAY NOT BE USED FOR ANY COMMERCIAL PURPOSE.
                           ry




                                           A PERSON WHO VIOLATES SUBSECTION (G) OF THIS SECTION SHALL BE
                                         (H)
                                SUBJECT TO A FINE NOT TO EXCEED $1,000 FOR EACH VIOLATION.".




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                                                           MARYLAND AUTOMOBILE INSURANCE FUND
                                                                            1750 FOREST DRIVE
                      M
                                                                       ANNAPOLIS. MARYLAND 21401


                                                                              (410) 269-3625


                      DAVID C. TRAGESER
                      EXECUTIVE DIRECTOR                                 March 16, 1998



                                Joseph F. Vallario, Jr., Chairman
                                House Judiciary Committee
                                Room 120, Lowe House Office Building
                                Annapolis, Maryland 21401-1991


                                Re Letter in Support of HB 925 - Exceeding Authorized Access to Computer Systems


                                 Dear Delegate Vallario,


                                            MAIF would like to register its support for HB 925. This bill would make it a crime to
                                 exceed the authority given to an individual to access a computer system. Currently, Maryland law
                                 allows anyone with access to a computer to exceed that authority, and even cause damage to the
                                 computer system with impunity. Only actions by “outsiders” are criminalized This bill deals with
                                 this issue by criminalizing the unauthorized acts of “insiders ”


                                            Typically computer systems are designed to give varying access levels to users based on
                                 their duties or work areas. An example of this at MAIF is where Claim employees are given
                                 access to programs which allow for the issuance of claim payments and Underwnters (who are
                                 not engaged in claim settlements) are not allowed such access.             This bill would make it unlawfu
                                 for an Underwriter to attempt to gain access to these programs by intentionally trying t0
                                 access to the computer as a Claim employee        In short, limited access is not intended to be blanket
                                  access.


                                            As technology advances, the law must also change to keep pace with the expanding ability
                                  of individuals to illegally exploit computer systems for their own purposes and benefit. With the
                                  advent of the Internet, anyone with a personal computer and a telephone line can make a
                                  connection to a computer anywhere in the world from the comfort of their living room
                                  Employees who misuse computer systems and betray the trust put in them by their employers
                                  should face legal consequences.


                                            On behalf of MAIF, I urge a favorable report on HB 925.


                                                                                              Very truly yours,


                                                                                              jCTo—

                                                                                               David C. Trageser
                                                                                                  Executive Director

                                   cc: Members of the House Judiciary Committee




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                                                                                       State of Maryland
                                                                           Department of State Police
                                                                            Government Affairs (410) 653-4431
                                                                              Annapolis Office (410) 974-5068




                                                                  POSITION ON PROPOSED LEGISLATION


                                                  DATE:                 March 17,1998

                                                                                                                             POSITION: Support
                                                  BILL NUMBER:          House Bill 925


                                                  BILL TITLE:            Crimes - Computers - Exceeding Authorized Access


                                                  REVIEW AND ANALYSIS:


                                                          This legislation seeks to prohibit individuals from exceeding their
                                                  authorized access to a computer, computer network or any part of these
                                                  systems.


                                                          Recent enhancements in computer hardware and software have
                                                  resulted in an increase in computer-related crime. The day when only big
                                                  businesses had access to mainframes and microcomputers has come to an
                                                  end. Computer technology of the 1990's has resulted in businesses of every
                                                  size and individuals having access to some type of computer equipment.


                                                          Recently the Maryland Court of Appeals overturned the conviction of
                                                  an individual that was convicted of illegal access to a computer under Article
                                                   27, Section 146. The individual charged was an employee of the victim
                                                   company. The charged individual exceeded his authorized access to the
                                                   computer system to alter records. The Court has ruled that if an employee is
                                                   given access to the computer system then he can not be charged with illegal
                                                   access to a computer. House Bill 808 will alleviate this problem.


                                                          Many of the computer intrusions cases occurring in Maryland are from
                                                   sources outside of the State. The complexity and frequency of computer
                                                   intrusion occurring in Maryland has increased dramatically. By changing
                                                   existing law so that the statute of limitations is increased to three years will
                                                   greatly enhance law enforcement’s ability to identify, investigate, and
                                                   prosecute computer intruders.




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                                                             HOUSE OF DELEGATES
                                                                ANNAPOLIS. MARYLAND


                                                        HOUSE JUDICIARY COMMITTEE

                                                              SPEAKERS AND APPEARANCES
                                                                                             DATE CF HEARING:           4-19-98
                      HOUSE ATTI. NO. AND SPONSOR:                               Det       Ruel ain
                      SENATE AILS. NO. AND SPONSOR:




                                                        LIST (F SPEAKERS AND

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                       NAME     (please print                      ADORESS /PHOWE                                  AFFILIATION



. 1998 Legislative History For HB 0925                                          Page # 29 of 55                                    Exhibit SCD-7 [State Court Document File # 7 of 303] .
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                                                                                       State of Maryland
                                                                              Department of State Police
                                                                             Government Affairs (410) 653-4431
                                                                              Annapolis Office (410) 974-5068


                                                             POSITION ON PROPOSED LEGISLATION


                                                        Maryland has aggressively promoted enhancements in computer
                                                technology in recent years. Funding has been set aside to connect every
                                                school to the Internet and for the building of new computer systems to carry
                                                Maryland into the 21st century. Now it is time for the legislature to adopt new
                                                laws pertaining to computers and electronic communication to protect the
                                                 investments of federal, state, and private sources.


                                                        For these reasons, the Department of State Police and the Maryland
                                                 Chiefs of Police urge the Committee to give House Bill 925 a favorable report.




                                                                            For Additional Information Contact -
                                                   First Sergeant Bernie Shaw, Maryland State Police, (410) 653-4431 or (410) 974-5068




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                                                            Department of Legislative Services
                                                                 Maryland General Assembly




                                                                                                    FISCAL NOTE INFORMATION

                                                                                                              ATTACH TO BILL




                     TO:                      Chairman, Judiciary

                                         ->   Chairman, Judicial Proceedings

                                              Bill Sponsor,              Delegate Rudolph, et al.



                     DATE:                    26-Mar-98


                     CDOfUV*
                     ■ atwiva*                wimi •C • Divow
                                                        i   y

                                              Coordinating Analyst



                     RE:                          House Bill            925

                                         Crimes      - Computer - Exceeding Authorized Access




                            We have examined the third reader for the above

                     mentioned bill and have found no change in the original

                     fiscal note




                                                                                                                                                                                                j

                     cc: Fiscal Note File


                     JFR/ncs




                                              Legislative Services Building - 90 State Circle - Annapolis. Maryland 21401-1991
                                                        (410) 841-3710 - F»x (410) 841-3722 - TTY (410) 841-3418




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                                                                            MARYLAND CHIEFS OF POLICE ASSOCIATION
                                                                                             LEGISLATIVE COMMITTEE




                                                  BILL NO.:                HB 925


                                                  TITLE:                   Crimes - Computers - Exceeding Authorized
                                                                           Access


                                                  SPONSOR:                 Delegate Rudolph




                                                   POSITION:                SUPPORT



                                                   The Maryland Chiefs of Police Association and the Maryland Sheriffs
                                                   Association SU PPORT the passage of House Bill 925, which amends §
                                                   146( a ) of Article 27, Crimes and Punishments, and adds to § 5-106(x)
                                                   of the Courts and Judicial Proceedings article to expand the provisions
                                                   relating to unauthorized access to certain computer devices, systems, or
                                                   services; establishing a statute of limitations for certain computer crimes;
                                                   and generally relating to computer crimes.


                                                   Computer technology has advanced to such a degree that practically
                                                   every business, institution, school, and private concern has access to a
                                                   computer or computer network.              Along with these vast numbers of
                                                   computers, there has been a large increase in computer related crimes.


                                                   Unauthorized access or exceeding one’s access to a computer generates
                                                   serious concerns and problems for businesses and others who rely on
                                                   their computers in their daily operations. This unauthorized access has
                                                   caused companies millions of dollars in losses.


                                                   For the above reasons, the Maryland Chiefs of Police Association and the
                                                   Maryland Sheriffs Association request a FAVORABLE REPORT on
                                                   House Bill 925.


                                                   03/17/98




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                                                         BALTIMORE COUNTY POLICE DEPARTMENT



                                                                700 East Joppa Road
                                                                Towson, MU 21286-5501
                                                                (410) *87-2211 (Voice)
                                                                (410) 887-4933 (Fax)
                     Integrity      Fairness .        Service

                         1 ci i Hid S. Sliti uitii*
                         Chief of Police



                                  BILL NO.:                              HB 925


                                  TITLE:                                 Crimes - Computers - Exceeding Authorized
                                                                         Access


                                  SPONSOR:                               Delegate Rudolph


                                  COMMITTEE:                            Judiciary


                                  POSITION:                             SUPPORT


                                  The Baltimore County Police Department SUPPORTS the passage of
                                  House Bill 925, which amends § 146( a ) of Article 27, Crimes and
                                 Punishments, and adds to                         §    5-106(x) of the Courts and Judicial
                                 Proceedings article to expand the provisions relating to unauthorized
                                 access to certain computer devices, systems, or services; establishing a
                                 statute of limitations for certain computer crimes; and generally relating
                                 to computer crimes.


                                 Computer technology has advanced to such a degree that practically
                                 every business, institution, school, and private concern has access to a
                                 computer or computer network.                             Along with these vast numbers of
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                                 Unauthorized access or exceeding one’s access to a computer generates
                                 serious concerns and problems for businesses and others who rely on
                                 their computers in their daily operations. This unauthorized access has
                                 caused companies millions of dollars in losses.


                                 For the above reasons, the Baltimore County Police Department requests
                                 a FAVORABLE REPORT on House Bill 925.


                                 03/17/98

                                                                                                   Nationally Accredited Since 1984




. 1998 Legislative History For HB 0925                                                Page # 33 of 55                    Exhibit SCD-7 [State Court Document File # 7 of 303] .
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                                                    BALTIMORE                COUNTY               POLICE          DEPARTMENT



                                                    700 East Joppa Road
                                                    Towson. MO 21286-5501
                                                    (410) 8872211
                                                    (410) 8874933
                   Imegnry      Faimcst   S»rvic«
                       / errence o. onenoan
                       Chief of Police



                                 BILL NO.:                     HB 925


                                TITLE:                         Crimes - Computers -                 Exceeding Authorized
                                                               Access


                                SPONSOR:                       Delegates Rudolph and Cryor


                                COMMITTEE:                     Judicial Proceedings


                                POSITION:                      SUPPORT


                                The Baltimore County Police Department SUPPORTS the passage of
                                House Bill 925, which amends § 146( a ) of Article 27, Crimes and
                                Punishments, and           adds to     §     5-l06(x) of the Courts and Judicial
                                Proceedings article to expand the provisions relating to unauthorized
                               access to certain computer devices, systems, or serv ices; establishing a
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                               Computer technology has advanced to such a degree that practically
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                               Unauthorized access or exceeding one’s access to a computer generates
                               serious concerns and problems for businesses and others who rely on
                               their computers in their daily operations. This unauthorized access has
                               caused companies millions of dollars in losses.


                               For the above reasons, the Baltimore County Police Department requests
                               a FAVORABLE REPORT on House Bill 925.


                               04/07/98

                                                                                        NatiomaUy Accredited Since 1984




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                                                                                       HOUSE BILL                 925
                                                                                                                                                      81rl505



                                                    By: Delegate Rudolph
                                                    Introduced and read first time: February 12, 1998
                                                    Assigned to: Judiciary

                                                                                               A BILL ENTITLED

                                                1   AN ACT concerning

                                               2                      Crimes - Computers - Exceeding Authorized Access

                                                3   FOR the purpose of expanding the provisions relating to unauthorized access to
                                                4       certain computer devices, systems, or services; establishing a statute of
                                                5       limitations for certain computer crimes; and generally relating to computer
                                                6           crimes.

                                                7   BY repealing and reenacting, without amendments,
                                                8           Article 27 - Crimes and Punishments
                                                9           Section 146(a)
                                               10           Annotated Code of Maryland
                                               11           (1996 Replacement Volume and 1997 Supplement)

                                               12   BY repealing and reenacting, with amendments,
                                               13           Article 27 - Crimes and Punishments
                                               14           Section 146(c)
                                               15           Annotated Code of Maryland
                                               16           (1996 Replacement Volume and 1997 Supplement)

                                               17   BY adding to
                                               18           Article - Courts and Judicial Proceedings
                                               19           Section 5-106(x)
                                               20           Annotated Code of Maryland
                                               21           (1995 Replacement Volume and 1997 Supplement)

                                               22      SECTION 1. BE IT ENACTED BY THE GENERAL                                           ASSEMBLY            OF
                                               23   MARYLAND, That the Laws of Maryland read as follows:

                                               24                              Article 27 - Crimes and Punishments

                                               25    146.

                                               26           (a)   In this section the following words have the meanings indicated.


                                                     EXPLANATION: CAPITALS INDICATE MATTER ADDED TO EXISTING LAW.
                                                         [Brackets] indicate matter deleted from existing law.




. 1998 Legislative History For HB 0925                                       Page # 35 of 55                                    Exhibit SCD-7 [State Court Document File # 7 of 303] .
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                                                                                               HOUSE BILL 925




                                         3        storage functions.




                                         6        device or system.
                                                                                               „ j          _n+ ;nriude     an automated typewnter, or
                                         7                                (iii)    “Computer     does       not inciu
                                         8        typesetter, or a portable calculator.

                                         9                      (2,       “Computer control language" means any ordered statements tha
                                         10        direct a commuter to perform specific functions.
                                                                (3)       -Coffiputcr data hose"             means    a    representation of information,

                                         12        knowledge, facts, concepts, or instructions that.




                                         15        network; and

                                         16                                 (U)     Are intended for use in a computer, computer sys em,

                                         17        computer network.

                                             lg                  (4)        “Computer      network”         means    the    interconnection    of 1    or    more
                                             19        computers through:

                                                                            (i)      The use of a satellite, microwave, line, or other communication
                                             20
                                             21        media; and
                                                                                     Terminals   or a complex consisting of 2 or more interconnected

                                             23        computers whether or not the interconnection is continuously mam                        me .

                                             24                     (5)      “ComPuter      ^rrelaTe^Tata^thaT^n execuLdm a computer


                                              26       sy^temt causes the^mputer to perform specified functions.

                                              27                    (6)       “Computer services" includes, but is not limited to, computer time,
                                              28        data processing, and storage functions.


                                              f„        procedures^ ^Tdoc^on^T isTn^Id ^^"0
                                              31        computer system.
                                              „                       (8)         “Computer system" means 1 or more connected or unconnecte

                                              33        computers, peripheral devices, software, data, or programs.

                                                  34                  (9)                                       equ^font^includi^ng^but not lim.ted to,
                                                  35     data from, or otherwise                             equipment     or resources connected therewith.




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                                                                                                                                                                     3
                                                                                                        HOUSE BILL 925

              al, organic, or                 i             (c)   (1) A nerson may not intentionally, willfully, and without authorization
              c, memory, or                            accesi attempt to ^cess, Tori cause access, OR EXCEED THE PERSON'S AUTHORIZED
                                              3        ACCESS        to a computer, computer network, computer software, computer contr
                                              4        Sge computer system, computer services, computer data base, or any part of
              je facility, or                 5        these systems or services.
              tion with that
                                              s                       (2)     A person may not intentionally, willfully, and without authorization
                                              6
                                                  7    access   att^pt to       access, [or] cause access, OR EXCEED THE PERSON'S AUTHORIZED
               ypewriter,      or             8        ACCESS to a computer, computer network, computer software, computer con ro
                                              l        language, computer system, computer services, computer data base, or any part of
                                              10       these systems or services to:
              itements that
                                                                              (i)      Cause the malfunction or interrupt the operation of a computer,

                                              12       computer network, computer software, computer control language, computer system,
                   information,               n        computer serv.ces, computer data base, or any part of these systems or semces; or

                                              ..                               (ii)    Alter, damage, or destroy data or a computer program stored,
                 a formalized                 ic       maintained            or produced by a computer, computer network, computer system,
               i, or computer                 16       computer services, computer data base, or any part of these systems or services.

                                              17                       (3)     A person may not intentionally, willfully, and without authorization:
               »r system, or
                                                                               (i)      POSSESS, [Identify] IDENTIFY, or attempt to identify any valid
                                                        access codes; or
               f    1   or   more
                                              20                               (ii)     Distribute       or   publicize   any   valid     access    codes     to    any
                                              21        unauthorized person.
               ommunication
                                                                                      Article - Courts and Judicial Proceedings

                nterconnected                           5-106.
               aed.
                                                                fY     A PROSECUTION UNDER ARTICLE 27, § 146(C) OF THE CODE RELATING TO
               istructions       or               25    COM^R CRI^SsZi ^ INSTITUTED WITHIN 3 YEARS AFTER THE OFFENSE
                in a computer                     26    WAS COMMITTED.

                                                  27            SECTION 2. AND BE IT FURTHER ENACTED, That this Act shall take effect
                omputer time,                     28    October 1, 1998.


                , instruction,
                operation of a



                r unconnected



                ata in, retrieve
                lot limited to,
                ?d therewith.




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                                                                                       HOUSE BILL                   925
                                                                                                                                                       81rl505
                                                    El


                                                    By- n<i IPffnfrp Rudolph Delegates Rudolph and CryoT
                                                    Introduced and read first time: February 12, 1998
                                                    Assigned to: Judiciary




                                                                                                CHAPTER

                                                                                                                 APPROVED 3Y the governor
                                               i    AM ACT concerning


                                               2                    Ci imes - Computers - Exceeding Authorized Access


                                               3     FOR the purpose of expanding the provisions relating to unauthorized access to
                                               4         certain computer devices, systems, or services; cotobhohmg toapplxtoa^ers^
                                               5         who pxceeds the person’s authorized access and to certain possession of vah^
                                               6         nccess codes; increasing a statute of limitations for certain computer crimes, and
                                               7         generally relating to computer crimes.

                                                8    BY repealing and reenacting, without amendments,
                                                9            Article 27 - Crimes and Punishments
                                               10            Section 146(a)
                                               11            Annotated Code of Maryland

                                               12            (1996 Replacement Volume and 1997 Supplement)

                                               13    BY repealing and reenacting, with amendments,
                                               14            Article 27 - Crimes and Punishments
                                               15            Section 146(c)
                                               16            Annotated Code of Maryland
                                               17            (1996 Replacement Volume and 1997 Supplement)

                                               18        BY adding to
                                               19            Article - Courts and Judicial Proceedings
                                               20            Section 5-106(x)
                                               21            Annotated Code of Maryland

                                               22             (1995 Replacement Volume and 1997 Supplement)


                                                         EXPLANATION: CAPITALS INDICATE MATTER ADDED TO EXISTING LAW
                                                             [Brackets] indicate matter deleted from existing law.
                                                             Undprlining indicates amendments to bill.                  , , ,   c
                                                             ^^Tindicates matter stricken from the bill by amendment or deleted from the law
                                                             by amendment.




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                                                  2                                          HOUSE BILL 925
                                          1          SECTION 1. BE IT ENACTED BY THE GENERAL                                             ASSEMBLY          OF
                                          2       MARYLAND, That the Laws of Maryland read as follows:

                                          3                                    Article 27 - Crimes and Punishments

                                          4       146.     > • ~     •

                                          5              (a)       In this section the following words have the meanings indicated.

                                          6   •        . ■   (1)  (i)  “Computer” means an electronic, magnetic, optical, organic, or
                                          7       other data processing device or system that performs logical, arithmetic, memory, or
                                          8       storage functions.

                                          9                              (ii)' “Computer” includes any property, data storage facility, or
                                         10       communications facility that is directly related to or operated in conjunction with that
                                         11       device or system.

                                         12                        (hi) “Computer” does                not include an automated             typewriter, or
                                         13       typesetter, or a portable calculator.

                                         14                  (2) “Computer control language” means any ordered statements that
                                         15       direct a commuter to perform specific functions.

                                         16                (3)    “Computer data base” means                     a     representation     of information,
                                         17       knowledge, facts, concepts, or instructions that:

                                         18                      (i)  Are being prepared or have been prepared in a formalized
                                         19       manner or are or have been produced by a computer, computer system, or computer
                                         20       network; and

                                         21                     (ii)           Are intended for use in a computer, computer system, or
                                         22       computer network.

                                         23                 (4)  “Computer            network”        means    the     interconnection     of   1   or   more
                                         24       computers through:

                                         25                              (i)   The use of a satellite, microwave, line, or other communication
                                         26       media; and

                                         27                     (ii) Terminals or a complex consisting of 2 or more interconnected
                                         28       computers whether or not the interconnection is continuously maintained.

                                         29                 (5)   “Computer program” means an ordered set of instructions or
                                         30       statements that may interact with related data that, when executed in a computer
                                         31       system, causes the computer to perform specified functions.

                                         32                 (6)   “Computer services” includes, but is not limited to, computer time,
                                         33       data processing, and storage functions.




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                                                                                                                                                                3
                                                                                                  HOUSE BILL 925

               MBLY       OF                  1                (7)    “Computer           software”      means      computer      programs,      instruction,
                                              2     procedures, or associated documentation that is concerned with the operation of a
                                              3     computer system.

                                              4                (8)    “Computer system” means 1 or more connected or unconnected
                                              5     computers, peripheral devices, software, data, or programs.

                                              6              (9)  “Access” means to instruct, communicate with, store data in, retrieve
                                              7     data from, or otherwise make use of equipment including, but not limited to,
               organic, or                    8     computers and other data processing equipment or resources connected therewith.
               memory, or
                                              9          (c)   (1)    A person may not intentionally, willfully, and without authorization
                                             10     access, attempt to access, [or] cause access, OR EXCEED THE PERSON'S AUTHORIZED
               facility, or                  11     ACCESS, to a computer, computer network, computer software, computer control
              m with that                    12     language, computer system, computer services, computer data base, or any part of
                                             13     these systems or services.

              >ewriter, or                    14               (2)    A person may not intentionally, willfully, and without authorization
                                              15    access, attempt to access, [or] cause access, OR EXCEED THE PERSON’S AUTHORIZED
                                              16    ACCESS, to a computer, computer network, computer software, computer control
               ments that
                                              17    language, computer system, computer services, computer data base, or any part of
                                              18    these systems or services to:

              .nformation,                    19                        (j)     Cause the malfunction or interrupt the operation of a computer,
                                              20    computer network, computer software, computer control language, computer system,
                                              21    computer services, computer data base, or any part of these systems or services; or
               formalized
              or computer                     22                        (ii)     Alter, damage, or destroy data or a computer program stored,
                                              23     maintained, or produced by a computer, computer network, computer system,
                                              24     computer services, computer data base, or any part of these systems or services.

                                              25                (3)     A person may not intentionally, willfully, and without authorization.

                                              26                        (i)      POSSESS, [Identify] IDENTIFY, or attempt to identify any valid
                                              27     access codes; or

                                              28                        (ii)     Distribute        or   publicize   any   valid     access     codes     to    any
                                              29     unauthorized person.

               .erconnected                                                    Article - Courts and Judicial Proceedings
                                              30
               d.

              .ructions or
                a computer
                                              32         (X) A PROSECUTION UNDER ARTICLE 27, § 146(C) OF THE CODE RELATING TO
                                              33     COMPUTER CRIMES SHALL BE INSTITUTED WITHIN 3 YEARS AFTER THE OFFENSE
                                               34    WAS COMMITTED.
              aputer time,
                                               35          SECTION 2. AND BE IT FURTHER ENACTED, That this Act shall take effect
                                               36    October 1, 1998.




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                  SUBJECT
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                  DELIVER TO/HOLD FOR:
                  CROSS FILE                            FILE COPE &                         PRIOR INTRODUCTION


                  FIRST REVIEW:




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                                                                                                                                               DATE
                                                                                              NOTED BY DRAFTER                                 DATE


                  SECOND REVIEW:
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                                                                                              REVIEWER                                                  DATE
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                                                                                                                  Drafted By:       Lori Valentine
                                                                                                                  Typed By:
                                                                                                                  Stored On:        1/27/98
                                                                                                                  Proofread By:
                                                                                                                  Checked By:


                      By: Delegate Rudolph
                                                                            A BILL ENTITLED

                     AN ACT concerning


                                                          Crimes - Computers - Exceeding Authorized Access


                     FOR the purpose/^f expanding the provisions relating to unauthorized access to certain computer devices^or
                                systems, establishing a statute of limitations relatin^o^certain computer crimes; and generally relating
                                to unauthorized accooo to computer^                                                                                      >      .




                     BY repo^ling and reenacting, with amendments,
                          ^/Article 27 - Crimes and Punishments                                                                                        p
                                                                                                                                                r
                   i/        ^/Section 146(c)
                   i/           Annotated Code of Mciryland
                                                                                                                           Ai>      A/              -yyA
                   ^         ^/(1996 Replacement Volume and 1997 Supplement)                      y


                     BY addii ^                             ...                                     y                y^y*.^               ^
                     y          Article - Courts and Judicial Proceedings                            y
                      ^ fiction 5-106(x)
                     y        vAtumlated Code of Maryland
                               \jj!V95 Replacement Volume and 1997 Supplement)


                                 SECTION 1.        BE IT ENACTED BY THE GENERAL ASSEMBLY OF MARYLAND, That the Laws
                     of Maryland read
                                   ad as follows:                                                       .

               y/y                                 p                                  <Ar
                                         <
                                          5'
                                                                  Article 27 - Crimes and Punishments
                      146.
                                 (c)         (1)   A person may not intentionally, willfully, and without authorization                   access, attempt to
                     access, [or| cause access, OR exceed the person’s authorized access, to a computer, computer network,
                     computer software, computer control language, computer system, computer services, computer data base, or any
                     part of these systems or services.


                                             (2)   A person may not intentionally, willfully, and without authorization                    access, attempt to




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                                                                  (Review Copy of LR 1505)                                                    Page 2 of 2


                      access, [or] cause access, or exceed the person’s authorized access, to a computer, computer network,
                      computer software, computer control language, computer system, computer services, computer data base, or any
                      part of these systems or services to:


                                               (i)    Cause the malfunction or interrupt the operation of a computer, computer network,
                      computer software, computer control language, computer system, computer services, computer data base, or any
                      part of these systems or services; or


                                               (ii)   Alter, damage, or destroy data or a computer program stored, maintained, or produced
                      by a computer, computer network, computer system, computer services, computer data base, or any part of these
                      systems or services.


                                         (3)   A person may not intentionally, willfully, and without authorization:


                                               (i)    Possess, [Identify] identify, or attempt to identify any valid access codes; or


                                               (ii)   Distribute or publicize any valid access codes to any unauthorized person.


                                                          Article - Courts and Judicial Proceedings
                      5-106.
                                (X)      A PROSECUTION UNDER ARTICLE 27, § i46(C)(lhl(C)f2), AND (c)(3) RELATING TO COMPUTER
                      CRIME^SHALL BE INSTITUTED WITHIN 3 YEARS AFTER THE OFFENSE WAS COMMITTED.


                                SECTION 2. AND BE IT FURTHER ENACTED.Vhat this Act shall take effect October 1, 1998.




                                                                                                    OFTM. COISL




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                                     (а)    In this section the following words have the meanings indicated.
                                     (1) (i) "Computer" means an electronic, magnetic, optical, organic, or other data
                                     processing device or system that performs logical, arithmetic, memory, or storage
                                    functions.
                                     (ii) "Computer" includes any property, data storage facility, or communications facility
                                    that is directly related to or operated in conjunction with that device or system.
                                    (iii) "Computer" does not include an automated typewriter or typesetter, or a portable
                                    calculator.
                                    (2) "Computer control language" means any ordered statements that direct a computer
                                    ♦^ m                                  pn
                                    IKJ pCI IUI I I I OfJOUIIIO 1141 IOMVJI IO.
                                    (3) "Computer data base" means a representation of information, knowledge, facts,
                                    concepts, or instructions that:
                                    (i) Are being prepared or have been prepared in a formalized manner or are or have
                                    been produced by a computer, computer system, or computer network; and
                                    (ii) Are intended for use in a computer, computer system, or computer network.
                                    (4) "Computer network" means the interconnection of 1 or more computers through:
                                    (1) The use of satellite, microwave, line, or other communication media; and
                                    (ii) Terminals or a complex consisting of 2 or more interconnected computers whether
                                    or not the interconnection is continuously maintained.
                                    (5) "Computer program" means an ordered set of instructions or statements that may
                                    interact with related data that, when executed in a computer system, causes the
                                    computer to perform specified functions.
                                    (б) "Computer services" includes, but is not limited to, computer time, data processing,
                                   and storage functions.
                                   (7) "Computer software" means computer programs, instructions, procedures, or
                                   associated documentation that is concerned with the operation of a computer system.
                                   (8) "Computer system" means 1 or more connected or unconnected computers,
                                   peripheral devices, software, data, or programs.
                                   (9) "Access" means to instruct, communicate with, store data in, retrieve data from, or
                                   otherwise make use of equipment including, but not limited to, computers and other
                                   data processing equipment or resources connected therewith.
                                   (b)     This section does not preclude the applicability of any other provision of this Code.
                                   (c) (1) A person may not intentionally, willfully, and without authorization access,
                                   attempt to access, [or] cause access, OR EXCEED ONE’S AUTHORIZED ACCESS,
                                   to a computer, computer network, computer software, computer control language,
                                   computer system, computer services, computer data base, or any part of these systems
                                   or services.
                                   (2) A person may not intentionally, willfully, and without authorization access, attempt to
                                   access, [or] cause access, OR EXCEED ONE’S AUTHORIZED ACCESS, to a




                                                                                          l




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                                     computer, computer network, computer software, computer control language, computer

                                     system, computer
                                     services, computer data base, or any part of these systems or services to:
                                     (i) Cause the malfunction or interrupt the operation of a computer, computer network,
                                     computer software, computer control language, computer system, computer services,
                                     computer data base, or any part of these systems or services; or
                                     (ii) Alter, damage, or destroy data or a computer program stored, maintained, or
                                     produced by a computer, computer network, computer system, computer services,
                                     computer data base, or any part of these systems or services.
                                     (3) A person may not intentionally, willfully, and without authorization:
                                     (1) POSSESS, [I] Identify, or attempt to identify any valid access codes; or
                                     (ii) Distribute or publicize any valid access codes to any unauthorized person.
                                     /rn  m Am/ rwQnn who violatftR anv nrnvision of subsection (c) ("h of this section is
                                     V^-/ V •/ # •••/ ^— -       ^    j t -                     % / % /
                                     guilty of a misdemeanor and on conviction is subject to a fine not exceeding $1,000 or
                                     imprisonment not exceeding 3 years or both.

                                     (2) Any person who violates any provision of subsection (c) (2) or (c) (3) of this section
                                     is guilty of a misdemeanor and on conviction is subject to a fine not exceeding $5,000
                                     or imprisonment not exceeding 5 years or both.
                                     (e) (1) When illegal access to a computer, computer network, computer control
                                     language, computer system, computer services, computer software, computer data
                                     base, or any part of these systems or services is committed in violation of this section
                                     pursuant to 1 scheme or continuing course of conduct, the conduct may be considered
                                     as 1 offense.
                                     (2) A court of competent jurisdiction in this State may try a person who allegedly
                                     violates any provision of subsection (c) of this section in any county in this State where:
                                     (i) The person performs the act; or
                                     (ii) The accessed computer is located.


                                     5-106.
                                     (a) Except as provided by this section, a prosecution for a misdemeanor shall be
                                     instituted within one year after the offense was committed.
                                     (b) Notwithstanding Article 27, § 690 (e) of the Code, if a statute provides that a
                                     misdemeanor is punishable by imprisonment in the penitentiary, the State may institute

                                     a prosecution for the offense at any time.
                                     (c) A prosecution under the vehicle code shall be instituted within two years after the
                                     offense was committed if the charge is:
                                     (1) Unlawfully using a driver’s license; or
                                     (2) Fraudulently using a false or fictitious name when applying for a driver's license.
                                     (d) A prosecution for Sabbath breaking or drunkenness shall be instituted within 30
                                     days after the offense was committed.
                                     (e) In Allegany County, a prosecution for selling alcoholic beverages to a person under
                                     the legal age for drinking such alcoholic beverages or for selling alcoholic beverages
                                     after hours shall be instituted within 30 days after the offense was committed.




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                                         (f) A prosecution for the commission of or the attempt to commit a misdemeanor
                                     constituting: (1) a criminal offense under the State election laws; or (2) a criminal
                                     offense under the State conflict of interest laws; or (3) criminal malfeasance,
                                     misfeasance, or nonfeasance in office committed by an officer of the State, or of an
                                     agency of the State, or of a political subdivision of the State, or of a bicounty or
                                     multicounty agency in the State shall be instituted within two years after the offense
                                     was committed.
                                     (g) A prosecution for conspiracy to commit any of the offenses enumerated in
                                     subsection (f) of this section shall be instituted within two years after the offense was
                                     committed.
                                     (h) A prosecution for a welfare offense under Article 27, § 230A of the Code shall be
                                     instituted within three years after the offense was committed.
                                     (i) A prosecution for the offense of Medicaid fraud under Article 27, § 230B of this Code
                                     shall be instituted within 3 years after the offense was committed.
                                     (j) A prosecution for an offense arising under the Tax-General Article with respect to the
                                     financial institution franchise, income, or motor fuel tax shall be instituted within 3 years
                                     after the date on which the offense was committed.
                                     (k) A prosecution for the offense of failure to secure workers' compensation insurance
                                     in accordance with Title 9, Subtitle 4 of the Labor and Employment Article shall be
                                     instituted within 1 year after the State Workers' Compensation Commission finds, by
                                     order, that the employer was uninsured or, pursuant to the authority contained in §
                                     9-1003 of the Labor and Employment Article, within 1 year after the Uninsured
                                     Employers' Fund makes payment under § 9-1003 of the Labor and Employment Article,
                                    as directed by the Commission.
                                     (l) A prosecution for an offense of the controlled hazardous substance law under §
                                    7-265 (b) of the Environment Article, shall be instituted within 2 years after commission
                                    of the offense.
                                    (m) Except as provided in subsection (g) of this section, the statute of limitations for the
                                    prosecution of the crime of conspiracy is the statute of limitations for the prosecution of
                                    the substantive crime that is the subject of the conspiracy.
                                    (n) A prosecution for an offense under Article 27, § 388 or § 388A of the Code shall be
                                    instituted within 3 years after the offense was committed.
                                    (o) A prosecution for an offense of discrimination on the basis of sex in paying wages
                                    under §§ 3-301 through 3-308 of the Labor and Employment Article shall be instituted
                                    within 3 years after the performance of the act on which the prosecution is based.
                                    (p) A prosecution for an offense of unlawfully charging or receiving compensation in
                                    connection with an adoption under § 5-327 of the Family Law Article shall be instituted
                                    within 3 years after the offense was committed.
                                    (q) A prosecution for an offense under § 14-601 of the Health Occupations Article of
                                    practicing, attempting to practice, or offering to practice medicine without a license shall
                                    be instituted within 3 years after the offense was committed.
                                    (r) A prosecution for an offense under the Maryland Charitable Solicitations Act (Title 6
                                    of the Business Regulation Article) shall be instituted within 3 years after the offense


                                                                                           3




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                                         was committed.
                                         (s) A prosecution for an offense under § 449 (d) or (e) of this subtitle, relating to straw
                                         sales of regulated firearms to prohibited persons or minors and to illegal sales, rentals,
                                         transfers, possession, or receipt of regulated firearms, shall be instituted within 3 years
                                         after the offense was committed.
                                         (T)   A PROSECUTION UNDER SUBSECTION §146 (C) (1), (C) (2), AND (C) (3) OF
                                         ARTICLE 27, RELATING TO COMPUTER CRIMES, SHALL BE INSTITUTED WITHIN
                                         3 YEARS AFTER THE OFFENSE WAS COMMITTED.




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                                                                                                         Drafted by:      Lori Valentine
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                                 Committee:                                                             Checked by             ^              uy


                        I        By:      Delegate Rudolph


                                                                              A BILL ENTITLED



                                 AN ACT concerning


                                                    Crimes - Computers - Exceeding Authorized Access



                                 FOR the purpose of expanding the provisions relating to unauthorized access to

                                          certain    computer      devices,    systems,       or    services;       establishing        a    statute        of

                                          limitations for certain computer crimes; and generally relating to computer

                                          crimes.


                                 BY repealing and reenacting, without amendments,


                                          Article 27 - Crimes and Punishments


                                          Section 146(a)


                                          Annotated Code of Maryland


                                          (1996 Replacement Volume and 1997 Supplement)



                                 BY repealing and reenacting, with amendments,


                                          Article 27 - Crimes and Punishments


                                          Section 146(c)


                                          Annotated Code of Maryland


                                          (1996 Replacement Volume and 1997 Supplement)



                       |         BY adding to


                                          Article - Courts and Judicial Proceedings


                       |                  Section 5-106(x)

                                 EXPLANATION:          CAPITALS INDICATE MATTER ADDED TO EXISTING LAW.
                                         [Brackets] indicate matter deleted from existing law.




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                                         Annotated Code of Maryland                                                                                                          20


                                         (1995 Replacement Volume and 1997 Supplement)                                                                                       21


                                         SECTION       1.    BE    IT    ENACTED             BY          THE     GENERAL         ASSEMBLY                  OF                22

                                 MARYLAND, That the Laws of Maryland read as follows:                                                                                        23


                                                             Article 27 - Crimes and Punishments                                                                             24



                                 146.                                                                                                                                        25


                                         (a)   In this section the following words have the meanings indicated.                                                              26


                                               (1)   (i)     “Computer” means an electronic, magnetic, optical, organic, or                                                  27

                                 other data processing device or system that performs logical, arithmetic, memory, or                                                        28

                                 storage functions.                                                                                                                          29


                                                     (ii)    “Computer”         includes       any       property,     data   storage         facility,      or              30

                                 communications facility that is directly related to or operated in conjunction with that                                                    31

                                 device or system.                                                                                                                           32


                                                     (iii)   “Computer”         does    not         include     an    automated        typewriter,           or              33

                                 typesetter, or a portable calculator.                                                                                                       34


                                               (2)   “Computer control language” means any ordered statements that                                                           35

                                 direct a commuter to perform specific functions.                                                                                            36


                                               (3)   “Computer          data    base”     means           a   representation       of      information,                      37

                                 knowledge, facts, concepts, or instructions that:                                                                                           38



                                                     (i)     Are   being prepared or have been prepared in a formalized                                                      39

                                 manner or are or have been produced by a computer, computer system, or computer                                                             40

                                 network; and                                                                                                                                41


                                                     (ii)    Are   intended       for    use        in   a    computer,    computer          system,         or              42

                                computer network.                                                                                                                            43


                                               (4)   “Computer          network”        means         the     interconnection      of       1    or     more                 44


                                                                                        -2-




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                                 computers through:


                                                      (i)    The use of a satellite, microwave, line, or other communication


                                 media; and


                                                      (ii)   Terminals or a complex consisting of 2 or more interconnected

                                 computers whether or not the interconnection is continuously maintained.


                                               (5)    “Computer     program’'     means             an    ordered      set   of    instructions            or

                                 statements that may interact with related data that, when executed in a computer

                                 system, causes the computer to perform specified functions.


                                               (6)    “Computer services” includes, but is not limited to, computer time,

                                 data processing, and storage functions.


                                               (7)    “Computer      software”       means             computer        programs,           instruction,

                                 procedures, or associated documentation that is concerned with the operation of a

                                 computer system.


                                               (8)    “Computer     system”     means           1    or   more       connected     or    unconnected

                                 computers, peripheral devices, software, data, or programs.


                                               (9)    “Access” means to instruct, communicate with, store data in, retrieve

                                 data    from,   or   otherwise   make    use    of equipment               including,       but   not      limited        to,

                                 computers and other data processing equipment or resources connected therewith.



                                         (c)   (1)    A person may not intentionally, willfully, and without authorization

                                  access, attempt to access, [or] cause access, OR EXCEED THE PERSON’S AUTHORIZED

                                  ACCESS, to a computer, computer network, computer software, computer control

                                  language, computer system, computer services, computer data base, or any part of

                                  these systems or services.


                                               (2)    A person may not intentionally, willfully, and without authorization

                                  access, attempt to access, [or] cause access, OR EXCEED THE PERSONS AUTHORIZED

                                  ACCESS, to a computer, computer network, computer software, computer control




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                                 language, computer system, computer services, computer data base, or any part of                                                               71

                                 these systems or services to:                                                                                                                  72


                                                        (i)     Cause the malfunction or interrupt the operation of a computer,                                                 73

                                 computer network, computer software, computer control language, computer system,                                                               74

                                computer services, computer data base, or any part of these systems or services; or                                                             75


                                                        (ii)    Alter, damage, or destroy data or a computer program stored,                                                    76

                                maintained,        or    produced     by   a   computer,              computer     network,       computer           system,                    77

                                computer services, computer data base, or any part of these systems or services.                                                                78


                                             (3)        A person may not intentionally, willfully, and without authorization:                                                   79


                       |                                (i)     POSSESS, [Identify] IDENTIFY, or attempt to identify any valid                                                  80

                                 access codes; or                                                                                                                               81


                                                        (ii)    Distribute     or     publicize          any     valid     access        codes       to     any                 82

                                 unauthorized person.                                                                                                                           83


                                                              Article - Courts and Judicial Proceedings                                                                         84



                                 5-106.                                                                                                                                         85


                       I(X)                  A PROSECUTION UNDER ARTICLE 27, § 146(C) OF THE CODE RELATING TO                                                                   86

                                COMPUTER CRIMES SHALL BE INSTITUTED WITHIN 3 YEARS AFTER THE OFFENSE                                                                            87

                                WAS COMMITTED.                                                                                                                                  88


                                         SECTION 2. AND BE IT FURTHER ENACTED, That this Act shall take effect                                                                  89

                                October 1, 1998.                                                                                                                                90




                                                                                          — 4 —




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                             V




                                                                     HOUSE BILL 925

                                                Crimes - Computers - Exceeding Authorized Access




                                 SPONSOR: Delegate Rudolph



                                 COMMITTEE RECOMMENDATION: Favorable with amendments




                                 SUMMARY OF BILL:

                                 The     bill   prohibits   a   person    from     intentionally,             willfully,     and        without

                                 authorization exceeding the person’s authorized access to any computer

                                 devices, systems, or services (penalty of lyear/$3,000).




                                 This bill further prohibits a person from intentionally, wilfully, and without

                                 authorization exceeding the person’s authorized access to any computer

                                 devices, systems, or services for the purpose of causing the malfunction or

                                 interruption of the operation of the computer device, system, or service, or

                                 alteration, damage, or destruction of data or a computer program stored,

                                 maintained, or produced by the computer device, system, or service (5

                                 years/$5,000).




                                 The     bill   prohibits   a   person    from      intentionally,              willfully,    and        without

                                 authorization possessing any valid access codes (5 years/$5,000).




                                 The bill provides a 3 year statute of limitations period for computer crimes

                                  prosecuted under Article 27, § 146(c) of the Code.



                                  COMMITTEE AMENDMENTS: One

                                          The amendment adds a                 sponsor from               a     similar bill          and       also

                                  makes a technical change to the purpose paragraph.




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                                 BACKGROUND:

                                 In the recent Court of Appeals case of Briggs v. State (filed 1/22/98), the

                                 Court addressed the issue of whether the current statute in Art. 27, § 146

                                 covered   the     situation      of a   person       whose         access      to   a   computer             was

                                 authorized, but who exceeded the scope of the authorization.                                     The Court

                                 held that it did not, stating: "The statute makes no reference to authorized

                                 users who exceed the scope of their authority.                         If the Legislature intended

                                 the statute to cover employees who exceeded the scope of their authority

                                 or who    misused their authority,             it could have done so explicitly.                              We

                                 conclude that the intent of the General Assembly was to criminalize the

                                 misuse of computers or computer networks by those whose initial access

                                 was unauthorized."           This bill will criminalize the conduct described in

                                 Briggs.



                                 Under current law, a person is prohibited from intentionally, wilfully, and

                                without authorization accessing, attempting to access, or causing access to

                                 any computer devices, systems, or services.




                                Current law prohibits a person from intentionally, willfully, and without

                                authorization accessing, attempting to access, or causing access to any

                                computer devices, systems, or services with the purpose of causing the

                                 malfunction       or   interruption     of the       operation         of the       computer           device,

                                 system,   or    service,    or   alteration,     damage,          or    destruction       of data           or a

                                computer program stored, maintained, or produced by the computer device,

                                 system, or service.



                                Current law prohibits a person from intentionally, willfully, and without

                                authorization identifying or attempting to identify any valid access codes

                                or distributing or publicizing any valid access codes to any unauthorized

                                 person.




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